                                     UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF WISCONSIN


In re:
                                                                              Case No. 15-30114-svk
          CHARLES ANDREW HOFFKINS and
          SUZANNA MARIE HOFFKINS,
                                                                              Chapter 13
                               Debtors.


         NOTICE AND REQUEST TO MODIFY CONFIRMED CHAPTER 13 PLAN



         Charles Andrew Hoffkins and Suzanna Marie Hoffkins filed papers with the Court requesting
modification of the confirmed Chapter 13 Plan in the above case.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)

         If you do not want the Court to confirm the modified plan as proposed, or if you want the
Court to consider your views on the request, then on or before 21 days after service of this notice,
you or your attorney must:


         File with the Court a written request for hearing that contains a short and plain statement of the
factual and legal basis for the objection. File your written request electronically or mail it to:

                                           Clerk of Bankruptcy Court
                                            517 E. Wisconsin Avenue
                                                   Room 126
                                           Milwaukee, WI 53202-4581

         If you mail your request to the Court for filing, you must mail it early enough so the Court will
receive it on or before the expiration of 21 days.

          If you or your attorney do not take these steps, the Court may decide that you do not oppose the
request and may enter an order confirming the modified plan.


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                    Case 15-30114-svk          Doc 76   1Filed   12/28/17       Page 1 of 3
                        REQUEST TO MODIFY CONFIRMED CHAPTER 13 PLAN

1.    The person requesting this plan modification is:
      _X the Debtor;
      __ the Chapter 13 Trustee;
      __ the holder of an unsecured claim, Name: _____________________

2.    Service: A certificate of service must be filed with this request for plan modification. Designate one
      of the following:
      _X A copy of this proposed modification has been served on the parties (the debtor, the trustee, the
         United States trustee and all creditors) as required by Fed. R. Bank. P. 3015(g); or
      __ A motion requesting limited service is being filed simultaneously with the Court.
3.    I request the following modification of the Chapter 13 Plan last confirmed by the Court:



          (a) No plan payments shall be due for the months of December 2017 and January
              2018 due to unexpected medical costs. Regular plan payments shall resume in
              February 2018.




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                    Case 15-30114-svk       Doc 76     2Filed   12/28/17      Page 2 of 3
        All remaining terms of the Chapter 13 Plan last confirmed on July 15, 2016, are unaffected. In
the event of a conflict between the terms of the confirmed Plan and the terms of this modification, the
terms of this modification control.

       WHEREFORE, the proponent requests that the Court approve this modification to the confirmed
Chapter 13 Plan.

CERTIFICATION

          Each proponent or the attorney for each proponent must sign this certification. If the proponent is
the Debtor, the Debtor’s attorney must sign this certification, and the Debtor may, but is not required to
sign. If the Debtor does not have an attorney, the Debtor must sign this certification.

         The provisions in this modified Chapter 13 plan are identical to those contained in the
official local form other than the changes listed in part 3.
          I certify under penalty of perjury that the foregoing is true and correct.




Respectfully submitted this 28th day of December, 2017.



__________________________                          ___________________________
Charles Andrew Hoffkins                             Suzanne Marie Hoffkins



 /s/ Anton B. Nickolai               .
Anton B. Nickolai
Attorney for proponent




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                    Case 15-30114-svk         Doc 76     3Filed   12/28/17       Page 3 of 3
